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10                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
11

12    IN RE: SOCIAL MEDIA ADOLESCENT                    Case No. 4:22-MD-03047-YGR
      ADDICTION/PERSONAL INJURY
13    PRODUCTS LIABILITY LITIGATION                     MDL No. 3047

14
      This Document Relates to:                        ADMINISTRATIVE MOTION TO FILE
15                                                     UNDER SEAL EXHIBITS TO THE
      H.F. and C.A., v. Meta, et al., 4:24-cv-         DECLARATION OF JENNIE LEE
16    08885;
                                                       ANDERSON IN SUPPORT OF PLAINTIFFS’
17    SB and JC, v. Meta, et al., 4:24-cv-09400;       THIRTEENTH CONSOLIDATED EX PARTE
                                                       APPLICATION FOR APPOINTMENT OF
18    RN and AR, v. Meta, et al., 4:24-cv-09406;       GUARDIANS AD LITEM

19    AG and MT, v. Meta, et al., 4:24-cv-09354;

20    T.S. ind. & obo E.S., v. ByteDance, Ltd, et
      al., 4:25-cv-00060;
21
      L.G. ind. & obo E.B., v. ByteDance, Ltd, et
22    al., 4:25-cv-00100;

23    D.M. and M.A., v. Meta, et al., 4:25-cv-
      00118;
24
      L.G. ind. & obo K.B., v. ByteDance, Ltd, et
25    al., 4:25-cv-00122;

26    E.W. and K.W., v. Meta, et al., 4:25-cv-
      00161;
27
      M.S. and S.K., v. Meta, et al., 4:25-cv-00169;
28

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 1    M.C. ind. & obo A.N., v. Meta, et al., 4:25-
      cv-00270;
 2
      B.R. and L.R., v. Meta, et al., 4:25-cv-00282;
 3
      A.B. by and through her Guardian Ad Litem
 4    Robert Budreau v. Meta, et al., 4:25-cv-
      01269;
 5
      J. C., by and through his Guardian Ad Litem,
 6    Kenyatta Leflorev. Meta, et al., 4:25-cv-
      02399;
 7
      K.H., by and through April Howell v. Snap
 8    Inc et. al, 4:25-cv-02985.

 9          Pursuant to Civil Local Rules 7-11 and 79-5(c), Plaintiffs respectfully move for

10   administrative relief to file under seal the individual Ex Parte Applications for Appointment of

11   Guardians Ad Litem (“Applications”) described in Plaintiffs’ Thirteenth Consolidated Ex Parte

12   Application for Appointment of Guardians Ad Litem (“Ex Parte Application”) and attached as

13   Exhibits 1-15 to the Declaration of Jennie Lee Anderson in Support of Plaintiffs’ Thirteenth

14   Consolidated Ex Parte Application for Appointment of Guardians Ad Litem (“Anderson

15   Declaration”).

16          The Applications for which sealing is sought are:

17      •   H.F. and C.A. v. Meta, et al., 4:24-cv-08885 (Exhibit 1);
18
        •   SB and JC v. Meta, et al., 4:24-cv-09400 (Exhibit 2);
19
        •   RN and AR v. Meta, et al., 4:24-cv-09406 (Exhibit 3);
20
        •   AG and MT v. Meta, et al., 4:24-cv-09354 (Exhibit 4);
21

22      •   T.S. ind. & obo E.S. v. ByteDance, Ltd, et al., 4:25-cv-00060 (Exhibit 5);

23      •   L.G. ind. & obo E.B. v. ByteDance, Ltd, et al., 4:25-cv-00100 (Exhibit 6);
24      •   D.M. and M.A. v. Meta, et al., 4:25-cv-00118 (Exhibit 7);
25
        •   L.G. ind. & obo K.B, v. ByteDance, Ltd, et al., 4:25-cv-00122 (Exhibit 8);
26
        •   E.W. and K.W. v. Meta, et al., 4:25-cv-00161 (Exhibit 9);
27

28      •   M.S. and S.K. v. Meta, et al., 4:25-cv-00169 (Exhibit 10);

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 1      •   M.C. ind. & obo A.N. v. Meta, et al., 4:25-cv-00270 (Exhibit 11);
 2
        •   B.R. and L.R. v. Meta, et al., 4:25-cv-00282 (Exhibit 12);
 3
        •   A.B. by and through her Guardian Ad Litem Robert Budreau v. Meta, et al., 4:25-cv-
 4
            01269 (Exhibit 13);
 5

 6      •   J. C., by and through his Guardian Ad Litem, Kenyatta Leflore v. Meta, et al. 4:25-cv-

 7          02399 (Exhibit 14); and

 8      •   K.H., by and through April Howell v. Snap Inc et al., 4:25-cv-02985 (Exhibit 15).
 9          This motion is accompanied by a [Proposed] Order and the Declaration of Jennie Lee
10   Anderson in Support of Plaintiffs’ Administrative Motion to File Under Seal Exhibits to the
11   Declaration of Jennie Lee Anderson in Support of Plaintiffs’ Thirteenth Consolidated Ex Parte
12   Application for Appointment of Guardians Ad Litem (“Anderson Decl. ISO Admin Motion”),
13   pursuant to Civil Local Rules 7-11 and 7-12. See Civ. L. R. 79-5(c).
14          This Court previously considered and finding good cause granted Plaintiffs’ request to
15   seal applications for guardian ad litem in this case. ECF No. 16.
16          Pursuant to Civil Local Rule 7-11, Liaison Counsel for Plaintiffs asked Defendants for a
17   standing stipulation that Applications may be filed under seal. Liaison Counsel for Defendants
18   confirmed that Defendants will so stipulate, but do not waive, and expressly reserve, their right to
19   seek an order or orders in the future to unseal individual applications and/or require parents who
20   wish to proceed pseudonymously going forward make a showing of good cause. Anderson Decl.
21   ISO Admin. Mot. to Seal, ¶5.
22          For the reasons set forth above, Plaintiffs respectfully request that the Court enter the
23   [Proposed] Order Granting Plaintiffs’ Administrative Motion to File Under Seal Exhibits in
24   Support of Plaintiffs’ Thirteenth Ex Parte Application for Appointment of Guardians Ad Litem.
25

26   Dated: April 4, 2025                          Respectfully submitted,
27
                                                   ANDRUS ANDERSON LLP
28
                                                   /s/ Jennie Lee Anderson
                                                    3                   Case No. 4:22-md-03047-YGR
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